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                       THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


 DISPLAY TECHNOLOGIES, LLC,


                      Plaintiff,                      Civil Action No. 1:18-cv-01390-RGA
               v.                                         JURY TRIAL DEMANDED
 COMO AUDIO, LLC,

                      Defendant.



              MOTION TO VOLUNTARILY DISMISS WITH PREJUDICE

       Plaintiff Display Technologies, LLC, pursuant to Fed. R. Civ. P. 41(a)(2), hereby moves

for an order dismissing all claims against Defendant Como Audio, LLC in this action WITH

PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees.



 Dated: December 28, 2018                         BAYARD, P.A.

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